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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NEW YORK

Claim No.:
Civil Action No.:

C99-15166

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UNITED STATES OF AMERICA § ° eo
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vs. § io"
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GEORGE SGOUROS § nD 2?
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COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

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The United States of America, plaintiff, alleges that:

Jurisdiction

1. This Court has jurisdiction over the subject matter of this action pursuant to Article III,

Section 2, U.S. Constitution and 28 U.S.C. § 1345.

Venue

2. The defendant is a resident of Queens County, within the jurisdiction of this Court and may be

served with service of process at 192 50b 71st Crescent, Apt 3a Fresh Meadows, NY 11365.

The Debt
3. The debt owed the USA is as follows:

A. Current Principal (after application of all
prior payments, credits, and offsets)

B. Current Capitalized Interest Balance and
Accrued Interest

C. Administrative Fee, Costs, Penalties

D. Credits previously applied (Debtor payments,
credits, and offsets)

$2400.00

$3311.01

$.00

$.00
E. Attorneys fees $.00
Total Owed as of September 18, 2000
$5711.01
The Certificate of Indebtedness, attached as Exhibit "A", shows the total owed excluding
attorney's fees and CIF charges. The principal balance and the interest balance shown on the Certificate of
Indebtedness is correct as of the date of the Certificate of Indebtedness after application of all prior
payments, credits, and offsets. Prejudgment interest accrues at the rate of 7.000% per annum.
Failure to Pay
4. Demand has been made upon the defendant for payment of the indebtedness, and the
defendant has neglected and refused to pay the same.
WHEREFORE. USA prays for judgment:
A. For the sums set forth in paragraph 3 above, plus prejudgment interest through the date of
judgment, all administrative costs allowed by law, and post-judgment interest pursuant to 28 U.S.C. §
1961 that interest on the judgment be at the legal rate until paid in full;

B. For attorneys’ fees to the extent allowed by law

C. For such other relief which the Court deems p

Dated: September 18, 2000

By:

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Detiglfé M. Fisher (DF3129)
FiveColumbia Circle
P.O. Box 15019
Albany, NY 12203
Tel No. (518) 456-7200
Fax No. (518) 456-0651

Attorneys for Plaintiff

This is an attempt to collect a debt. Any information obtained will be used for that purpose. This is a
communication from a debt collector.
U.S. DEPARTMENT OF EDUCATION
SAN FRANCISCO, CALIFORNIA

CERTIFICATE OF INDEBTEDNESS

George Sgouros
192 50B 71st Crescent Apt 3A
Fresh Meadows, NY 11365-

SSN: 075-46-8 142

I certify that Department of Education records show that the borrower named above is indebted to the
United States in the amount stated below plus additional interest from 6/15/99.

On or about 3/14/79, 11/18/79, 11/18/79, the borrower executed promissory note(s) to secure loan(s)
of $2,500.00, $2,500.00, $2,500.00 from Washington Federal Savings, New York NY at 7.00 percent
interest per annum. This loan obligation was guaranteed by New York State Higher Education Services
Corporation and then reinsured by the Department of Education under loan guaranty programs
authorized under Title IV-B of the Higher Education Act of 1965, as amended, 20 U.S.C. 1071 et seq.
(34 CFR. Part 682). The holder demanded payments according to the terms of the note(s), and credited
$5,100.00 payments to the outstanding principle owed on the loan(s). The borrower defaulted on the
obligation on 7/29/84 and the holder filed a claim on the guarantee.

Due to this default, the guaranty agency paid a claim in the amount of $2,400.00 to the holder. The
guarantor was then retmbursed for that claim payment by the Department under its reinsurance
agreement. The guarantor attempted to collect the debt from the borrower. The guarantor was unable
to collect the full amount due, and on 8/24/93 assigned its right and title to the loan(s) to the
Department.

Since assignment of the loan, the Department has received a total of $0.00 in payments from all
sources, including Treasury Department offsets, if any. After application of these payments, the
burrower now owes the United States the following:

Principal: ‘ $2,400.00
Interest: $3,098.82
Administrative/Collection Costs $0.00
Late Fees: $0.00
Total debt as of 6/15/99: $5,498 82

Interest accrues on the principal shown here at the rate of $0.46 per day.

Pursuant to 28 U.S.C. § 1746(2), I certify under penalty of perjury that the foregoing is true and correct.

Executed on: Z Jy of oF Name: ) - 2 2

Title: Loan Analyst

Branch: Litigation

